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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                        MDL DOCKET NO. 2924
    PRODUCTS LIABILITY
    LITIGATION                                                 Civil Action No. 9:20-MD-2924

                                                      JUDGE ROBIN L. ROSENBERG
                                            MAGISTRATE JUDGE BRUCE E. REINHART
   __________________________________

   THIS DOCUMENT RELATES TO: ALL CASES

      JOINT STIPULATION OF PLAINTIFFS AND WOCKHARDT LTD. REGARDING
    PLAINTIFFS’ EXPEDITED MOTION TO DEFER APRIL 23 DEADLINE TO OPPOSE
     SPECIALLY-APPEARING NON-U.S. GENERIC MANUFACTURER DEFENDANTS’
    RENEWED MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION AND
              TO AUTHORIZE LIMITED JURISDICTIONAL DISCOVERY

          Plaintiffs and Wockhardt Ltd., through their respective undersigned counsel, jointly

   stipulate as follows:

          WHEREAS, on March 24, 2021, certain specially appearing non-U.S. Defendants,

   including Wockhardt Ltd., filed a renewed Motion to Dismiss for Lack of Personal Jurisdiction

   [DE 3108] (“the Motion to Dismiss”);

          WHEREAS, Wockhardt Ltd. filed, in support of its Motion to Dismiss, the declaration of

   Debolina Partap, Esq. (“Partap Declaration”), a witness located in Mumbai, Maharashtra, India

   [DE 3108-1];

          WHEREAS, on April 5, 2021, Plaintiffs filed an Expedited Motion to Defer April 23

   Deadline to Oppose Specially-Appearing Non-U.S. Generic Manufacturer Defendants’ Renewed

   Motion to Dismiss for Lack of Personal Jurisdiction and to Authorize Limited Jurisdictional

   Discovery [DE 3167] (“the Motion for Jurisdictional Discovery”);
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          WHEREAS, on April 7, 2021, the Court entered an Order requiring Defendants to file a

   single, consolidated, expedited response to Plaintiffs’ Motion for Jurisdictional Discovery by April

   9, 2021 [DE 3175]; and

          WHEREAS, Plaintiffs and Wockhardt Ltd. agree to resolve the issues presented by

   Plaintiffs’ Motion for Jurisdictional Discovery pursuant to the stipulated compromise set forth

   herein, subject to approval by the Court;

          IT IS HEREBY STIPULATED AND AGREED as follows:

          1.      Wockhardt Ltd. consents to the Court entering an Order deferring Plaintiffs’ April

   23, 2021 deadline to file their opposition to the Motion to Dismiss, as to Wockhardt Ltd., consistent

   with the proposed schedule set forth below.

          2.      Wockhardt Ltd. agrees to provide Plaintiffs with jurisdictional discovery in the

   form of written answers to specific questions of up to 50 in number and narrowly tailored to the

   statements made in the Partap Declaration or the arguments made by Wockhardt Ltd. in the Motion

   to Dismiss for Lack of Personal Jurisdiction to be drafted and presented by Plaintiffs’ counsel,

   along with copies of reasonably available documents identified in the answers to those questions.

          3.      It is the intention and expectation of the parties that Plaintiffs’ written questions

   will be in substantially the same format, though broader in scope, as those submitted to Wockhardt

   Ltd. by email in advance of Plaintiffs filing their Motion for Jurisdictional Discovery and attached

   thereto as Ex. 1 at 8–9 [DE 3167-1]. The answers to Plaintiffs’ written questions shall be provided

   by Debolina Partap, under penalty of perjury pursuant to 28 U.S.C. § 1746, subject to her

   reasonable investigation, and shall be binding on Wockhardt Ltd.

          4.      The parties agree that, subject to the limitations in Paragraph 2 of this Stipulation,

   the questions shall be answered in a manner similar to a deposition in that, to the extent Wockhardt



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   Ltd. has objections to the form of a written question, it will include those objections in its response

   and will thereafter provide its answer to the question, unless the objection relates to the attorney-

   client and/or work-product privilege. Likewise, the parties agree that Wockhardt Ltd. retains its

   right to challenge the relevance of the questions and/or answers provided in future briefing.

          5.      The parties further agree to meet-and-confer, whether in advance or after the

   questions are answered, on Wockhardt’s objections and, if necessary, resolve any disputes thereon

   pursuant to the process outlined in PTO 32.

          6.      Wockhardt Ltd. reserves the right to file a supplemental declaration of Debolina

   Partap in support of the Motion to Dismiss to conform her testimony to the answers provided in

   response to Plaintiffs’ written questions. Plaintiffs will not oppose any such application to file a

   supplemental declaration.

          7.      By agreeing to this stipulated process, Plaintiffs do not waive their right to later

   seek upon a showing of good cause with leave of Court, to compel Wockhardt Ltd. to provide

   written clarification of the answers to the written questions to clarify an ambiguity in the answers

   or declaration(s). Wockhardt Ltd. does not waive its right to oppose any such future request and

   the parties agree to meet-and-confer in advance to resolve any such request before Plaintiffs seek

   leave to exercise their rights under this paragraph

          8.      Subject to the Court’s approval, the parties agree to the following schedule to

   complete the above-described process and complete briefing on the Motion to Dismiss:

                  a.      Plaintiffs shall submit their written questions to Wockhardt Ltd.’s counsel

          within seven (7) days of the Court approving this Stipulation;

                  b.      Wockhardt Ltd. shall serve its answers and any objections within thirty (30)

          days of receiving the written questions;



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                 c.      The parties agree, to the extent possible, to meet-and-confer in an effort to

          resolve any objections prior to the deadline for Wockhardt to submit its answers;

                 d.      If necessary, the parties shall submit any unresolved objections to the Court

          for resolution pursuant to PTO 32 within seven (7) days of Wockhardt Ltd.’s serving its

          answers to the written questions;

                 e.      Plaintiffs shall file their opposition to the Motion to Dismiss, as to

          Wockhardt Ltd., within twenty-one (21) days of Wockhardt Ltd.’s serving its answers and

          any supplemental answers, whichever is later; and

                 f.      Wockhardt Ltd. shall file its reply in support of the Motion to Dismiss

          within fourteen (14) days following service of Plaintiffs’ opposition.

   IT IS SO STIPULATED this 9th day of April, 2021.

    /s/ Robert C. Gilbert                              /s/ Clifford E. Katz
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 9, 2021, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.

                                                       /s/ Robert C. Gilbert




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